               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

CARLOS MANUEL AYESTAS,                §
            Petitioner,               §
                                      §
v.                                    § Civil Action No. 4:09-CV-2999
                                      §
BOBBY LUMPKIN, Director,              §    (Death Penalty Case)
Texas Department of Criminal          §
Justice, Correctional Institutions    §
Division,                             §
                  Respondent.         §

RESPONDENT’S UNOPPOSED MOTION FOR LEAVE TO SUPPLEMENT
   RESPONDENT’S ANSWER TO AYESTAS’S AMENDED PETITION

      Petitioner Carlos Manuel Ayestas was properly convicted of and

sentenced to death for the brutal murder of sixty-seven-year-old Santiaga

Paneque in the course of committing a burglary or robbery. Seven years after

this Court entered final judgment for the second time, this Court permitted

Ayestas to file an amended petition raising two new claims. First Am. Pet. for

Writ of Habeas Corpus (“Am. Pet.”), ECF No. 101. These claims were

predicated on a capital murder summary, the so-called “Siegler memo,” that

Ayestas purportedly discovered in the files of the Harris County District

Attorney’s Office in December 2014. The Director filed his answer to Ayestas’s

amended petition in March 2022. Resp’t’s Answer & Mot. Summary J.

(“Answer”), ECF No. 115. Ayestas has not yet filed a reply to the Director’s

answer.
      On May 23, 2022, the Supreme Court issued its decision in Shinn v.

Martinez Ramirez, -- S. Ct. --, 2022 WL 1611786 (May 23, 2022). In Martinez

Ramirez, the Supreme Court held “that, under [28 U.S.C.] § 2254(e)(2), a

federal habeas court may not conduct an evidentiary hearing or otherwise

consider evidence beyond the state-court record based on ineffective assistance

of state postconviction counsel.” Id. at *9. That is because “under § 2254(e)(2),

a prisoner is ‘at fault’ even when state postconviction counsel is negligent.” Id.

at *10. Thus, “a federal court may order an evidentiary hearing or otherwise

expand the state-court record only if the prisoner can satisfy § 2254(e)(2)’s

stringent requirements.” Id. (emphasis added).

      At first glance, Martinez Ramirez does not appear to directly apply to

Ayestas’s case: he has raised no ineffective-assistance-of-trial-counsel claim

predicated on the Siegler memo, and he has not alleged that state habeas

counsel’s ineffectiveness constitutes cause for the procedural default of his

Siegler-memo claims. Rather, Ayestas argues that he can show cause to excuse

the default of his claims because he could not have discovered the Siegler memo

sooner. See Am. Pet. 19–21.

      But, as the Director has thoroughly briefed in arguing that Ayestas was

not entitled to post judgment relief, has filed a successive petition, is untimely,

and is procedurally defaulted, Ayestas was not diligent in discovering the

                                        2
Siegler memo. See, e.g., Answer 10–41 Indeed, the Fifth Circuit has explicitly

found such—a finding this Court is bound by—and the Texas Court of Criminal

Appeals has implicitly found such—a finding to which this Court must defer.

See Answer 19–22. And because Ayestas was not diligent, the opening clause

of § 2254(e)(2) is triggered, just as it is when state habeas counsel fails to

develop a claim earlier. See Martinez Ramirez, 2022 WL 1611786, at *10

(recognizing that its prior precedent “admonish[es] that ‘[c]ounsel’s failure’ to

perform as a ‘diligent attorney’ ‘triggers the opening clause of § 2254(e)(2)’”)

(quoting Williams v. Taylor, 529 U.S. 420, 439–40 (2000)).

      What this means for Ayestas is that any new evidence he seeks to

introduce or develop in these proceedings cannot be considered by this Court,

and this applies equally to the Siegler memo itself as it does to whatever

evidence he will inevitably ask this Court for permission to discover in

accordance with the scheduling order. See Sched. Order 114 (requiring motions

for discovery under Rule 6 of the Rules Governing § 2254 Cases to be filed by

July 13, 2022). 1 Indeed, § 2254(e)(2)’s “restrictions apply a fortiori when a


1      The Director notes that he joined the step-processed joint scheduling order—
permitting the parties to file discovery motions after initial responsive pleadings but
before the Court has ruled on any of the underlying procedural issues—due to the
potential of a more unfavorable outcome. See ECF No. 108 (ordering parties to submit
a joint scheduling order “for remaining deadlines, including discovery limited to the
issues raised by the Siegler memo” or, if the parties could not agree, ordering Ayestas
to submit a revised version of the proposed order attached in ECF No. 100). The
Director has consistently objected to the propriety of the instant proceedings, but
                                            3
prisoner seeks relief based on new evidence without an evidentiary hearing.”

Holland v. Jackson, 542 U.S. 649, 653 (2004) (emphasis in original). And

Martinez Ramirez reinforced § 2254(e)(2)’s importance: “[W]hen a federal

habeas court convenes an evidentiary hearing for any purpose, or otherwise

admits or reviews new evidence for any purpose, it may not consider that

evidence on the merits of a negligent prisoner’s defaulted claim unless the

exceptions in § 2254(e)(2) are satisfied.” Martinez Ramirez, 2022 WL 1611786,

*11. “In all but the[] extraordinary cases [where § 2254(e)(2)’s exceptions are

met], AEDPA ‘bars evidentiary hearings in federal habeas proceedings

initiated by state prisoners.’” Id. at *3 (quoting McQuiggin v. Perkins, 569 U.S.

383, 395 (2013)). Ayestas has not, and cannot, meet § 2254(e)(2)’s “stringent”

exceptions. As such, this Court cannot consider any new evidence Ayestas

proffers, including the Siegler memo itself.

      While the Director intended to wait to raise these issues in his opposition

to any further discovery Ayestas seeks, the issuance of Martinez Ramirez

counseled in favor of the Director supplementing the Director’s answer so that




Martinez Ramirez casts further doubt on the propriety of this Court ordering the
parties to move for discovery—on claims that are procedurally defaulted and thus for
which factual development is prohibited under § 2254(e)(2)—before resolving any of
the antecedent procedural issues in this case, namely, whether Ayestas’s claims are
successive, untimely, and procedurally defaulted.

                                         4
Ayestas may have an opportunity to address the argument in his reply. 2 The

Director thus requests that this Court grant him leave to file supplemental

briefing to the Director’s answer. 3

                                 CONCLUSION

      The Director respectfully requests that the Court grant him leave to file

supplemental briefing to the Director’s answer.

                                       Respectfully submitted,

                                       KEN PAXTON
                                       Attorney General of Texas

                                       BRENT WEBSTER
                                       First Assistant Attorney General

                                       JOSH RENO
                                       Deputy Attorney General
                                       for Criminal Justice

                                       EDWARD L. MARSHALL
                                       Assistant Attorney General
                                       Chief, Criminal Appeals Division

                                       s/ Gwendolyn S. Vindell
                                       GWENDOLYN S. VINDELL*
*Lead Attorney                         Assistant Attorney General
                                       State Bar No. 24088591
                                       Southern ID No. 2202376


2      The Director understands that Ayestas will seek an additional thirty days to
file his reply to the Director’s answer in light of the Director’s instant motion. As
indicated to Ayestas, the Director does not oppose an additional extension of time so
that Ayestas may address the issues raised in the Director’s supplemental briefing.

3     The Director’s proposed briefing is attached to this pleading as Exhibit A.
                                          5
                                    P.O. Box 12548, Capitol Station
                                    Austin, Texas 78711
                                    (512) 936-1400
                                    Facsimile No. (512) 936-1280

                                    ATTORNEYS FOR RESPONDENT


                     CERTIFICATE OF CONFERENCE

      I, Gwendolyn S. Vindell, Assistant Attorney General of Texas, do hereby

certify that opposing counsel, Lee Kovarsky, confirmed by email on June 6,

2022, that he is unopposed to this motion.

                                    s/ Gwendolyn S. Vindell
                                    GWENDOLYN S. VINDELL
                                    Assistant Attorney General




                        CERTIFICATE OF SERVICE


                                      6
      I do hereby certify that a true and correct copy of the foregoing pleading

was served by placing same in the United States Mail, postage prepaid, on this

the 7th day of June, 2022, addressed to:

Sheri L. Johnson
Cornell University
School of Law
240 Myron Taylor Hall
Ithaca, NY 14853-4901

Lee Benjamin Kovarsky
Phillips Black, Inc.
727 East Dean Keeton Street
Jon 6.222
Austin, TX 78705


                                    s/ Gwendolyn S. Vindell
                                    GWENDOLYN S. VINDELL
                                    Assistant Attorney General




                                       7
